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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JANICE JAVORS,

                Plaintiff,                              Case No. 1:19-CV-08403

        v.

 DEPAUL UNIVERSITY,

                Defendant.


                             MOTION TO WITHDRAW AS ATTORNEY

       Pursuant to Federal Rule of Civil Procedure 74 and Local Rule 83.17, Garrett H. Nye

(“Movant”) hereby moves this Court to grant leave to permit Movant to withdraw as counsel for Janice

Javors (“Client”). In support of this motion, Movant shows the Court as follows:

       1. The Client is currently represented in this matter by Robert D. Sweeney and Garrett H. Nye,

all of the law firm Sweeney, Scharkey and Blanchard LLC (“SSB”).

       2. Local Rule 83.17 provides in part that:

          An attorney who has filed an appearance form pursuant to LR 83.16 is the attorney of
          record for the party represented for all purposes incident to the proceeding in which the
          appearance was filed. The attorney of record may not withdraw, nor may any other
          attorney file an appearance on behalf of the same party or as a substitute for the
          attorney of record, without first obtaining leave of court, except that substitutions or
          additions may be made without motion where both counsel are of the same firm.

       3. Movant seeks leave to withdraw as counsel for the Client. Movant will be leaving his

employment with SSB and will be unable to continue his representation of the Client.

       4. The Client will not be harmed or prejudiced by Movant’s withdrawal.

       5. Defendant will not be prejudiced if Movant’s Motion to Withdraw as Attorney is granted.

       WHEREFORE, Movant respectfully requests that this Court enter an order allowing Movant to

withdraw as counsel for the Client and for such other relief that this court deems necessary and proper.

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Dated: October 14, 2020                     Respectfully submitted,

                                            By: s/ Garrett H. Nye
                                                    Garrett H. Nye
                                                    Sweeney, Scharkey & Blanchard LLC
                                                    230 West Monroe Street
                                                    Suite 1500
                                                    Chicago, Illinois 60606
                                                    Tel. (312) 384-0500
                                                    Counsel for Plaintiff.




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on the date below I filed the foregoing with the Clerk of Court for the

United States District Court for the Northern District of Illinois using the Court’s CM/ECF system,

which will automatically transmit required notice to all parties of record.

Dated: October 14, 2020                                              /s/ Garrett H. Nye




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